 Case 2:16-cr-00014-RJJ           ECF No. 74, PageID.133    Filed 11/10/16   Page 1 of 2




                          UNITED STATES OF AMERICA
                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION




UNITED STATES OF AMERICA,

                     Plaintiff,                  Case No. 2:16-cr-14-04

v.                                               HON. ROBERT HOLMES BELL

COLLEEN LYNN ARCHAMBEAU,

                Defendant.
____________________________________/


                           REPORT AND RECOMMENDATION

              Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the

captioned case on November 10, 2016, after receiving the written consent of defendant

and all counsel. At the hearing, defendant Colleen Lynn Archambeau entered a plea of

guilty to Count 1 of the indictment, charging defendant with Conspiracy to Distribute and

Possess with Intent to Distribute Heroin and Cocaine Base in violation of 21:846,

21:841(a)(1), 21:841(b)(1)(C), in exchange for the undertakings made by the government

in the written plea agreement. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises, apart from the promises in

the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
 Case 2:16-cr-00014-RJJ          ECF No. 74, PageID.134           Filed 11/10/16       Page 2 of 2




                  I therefore recommend that defendant's plea of guilty to Count 1 of the

indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing.                      It is further

recommended that defendant remain detained pending sentencing. Acceptance of the

plea, adjudication of guilt, acceptance of the plea agreement, determination of defendant's

status pending sentencing, and imposition of sentence are specifically reserved for the

district judge.



Date: November 10, 2016                                /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH. L.CR.R. 11.1(d).
